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                       EXHIBIT 21
           Deposition of Victor Brewer
                September 4, 2008
         (Phase II Counter-Designations)
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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA
3                 AND THE NORTHERN DISTRICT OF CALIFORNIA
4           UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
        P U R S U m TO SECTION 2284, TITLE      28 UNITED STATES CODE


       RALPH COLEMAN, et al . ,
                    Plaintiffs,
       VG   .                           Ma. C I V 5-90-0520 LXK JFM P
       ARNOLD SCHWARZENEGGER, et al.
                    Defendants.



       MARCIANO PLaTA, et al.


                    Plaintiffs,
       vs   .
       ARNOLD SCIIWaRZENEGGER, et al.
                    Defendants .


                                        .   .
                       Depasition of VICTOR F. BREWER
                 MARKED CONFIDENTIAL (Pages 1 through 197)


       DATE r               SEPTEMBER 4, 2008


       TIME :               9:34 A.M.


       LOCATION :           ROSEN, BIEN & GALVAN
                            315 Montgomery Street, 10th Floor
                            San Francisco, California 94104


       REPORTED BY:         Cari L. Waters-Drewry
                            Certified Shorthand Reporter
                            Li cens,e Number 12401
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    I
    i    1             course of, I think, your seven years with DMH?



         3                  Q.      So it has remained consistent that

                       approximately 70 percent of the pa.t,ientshave co-morbid

         5     .   .ordual diagnoses?

                           A.       I had a study done when 1 first arrived at

         7         Vacaville to define the needs for the program, and it

         8         has remained constant since then.
1        9                  Q.     And when was this study done?

1       10                 A.      Done following patients from 2002 to about
        11             2004.     I believe I got the document in 2005.     It

        12             compared tfie patients between Vacaville and Salinas.

        13                 Q.      Do you recall what the results were in terms

        14         of comparing the patients between Vacaville and Salinas?
1
        15                 A.      Predominantly, what I described earlier,,the
3
!
        16         patients in the - - comparing intermediate program to
i
i       17         intermediate progxam.        In the Level I11 patients, they

        18         are much higher functioning, less violent, but still ran

I
1
        19         close to 70 percent for dual diagnoses.          .
                   \
        20                         The patients in Salinas were far more violent,
                                                    \

        21         had a longer history of violence, had a substantial
I
        22         history of abuse in childhood, which contributed to

        23         their disease.

        24                 Q-      In terms o f your experience over the past       '



        25         seven years running the DMH units at CMF and S a l i n a s
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          1       Valley, have you noticed any differences in the acuity

     I    2       level of patients, generally, that you see in those
          3       units?

          4            A.     No, it appears to be relatively - - the acuity

          5       appears to be consistent.

          6            Q.     So over the past,sevenyears, the acuity level
1         7       of patients in those DMH units ha; remained

          8       approximately the same?

          9            A,.    Yes.

         10            Q.     How do you define acuity?

         1P            A.     Well, again, if a person is suicidal seven

1I       12      years ago, and bets suicidal today, the result is .the

                  same outcome, same acuity level.         I don't see a change

                  in the type of patient.          I see a change in the number of

                 patients .

                       Q.     What's t h e change i n the number of patients?

                       A.     More referrals each yeas. I think t h a t goes

                 back to the fact that I testified earlier, the CDC's

                  improved ability to,diagnose the mentally ill.

         20            Q.     Do you think that it also relates to having

         21      more people generally in the prison s y s t e i n ?

         22                   MS. OvBANNON: Calls f o r speculation.

         23                   THE WITNESS:        I can't answer that.

                              MS. W H E W :   Q     You testified t h a t there's a

         25      national average in terns of the percentage of people
